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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

Crim.    No.    07-00143

UNITED STATES OF AMERICA v.         David Ariste
                                     Defendant

PETITION FOR WRIT OF HABEAS CORPUS:              Your petitioner shows that

1    David Ariste, SEI #156784D,                                     is now confined in
Hudson County Jail.

2.   David Ariste a defendant in the captioned case, will be required
at the United States District Court located in Newark, NJ on Thursd
                                                                    ay,
July 8, 2010 at 9:30 a.m. for a Sentencing before Hon. Stanle
                                                                  y R.
Chesler, and a Writ of Habeas Corpus should be issued for
                                                                  that
purpose.

DATED:       June 25,   2010                  Is! Melissa L, Jampol
                                              Melissa L. Jampol
                                              Assistant United States Attorney
                                              Petitioner   973-645-3987
                                                             -




ORDER FOR WRIT:         Let the Writ Issue.


DATED:       Cj&6 JoCI
                                                   STANLEY    CHESLER
                                                                 .


                                              UNITED STATES DISTRICT JUDGE

WRIT OF HABEAS CORPUS:

The United States of America to the Warden of the HUDSON COUNTY JAIL.
We Command You that you have the body of David Ariste, SBI #1567
                                                                 84D,
D.O.B. 9/30/1981 (by whatever name called or charged) brought to the
United States District Court located in Newark, NJ on Thursday,
                                                                 July
8, 2010 at 9:30 a.m. for a Sentencing in the above-captioned matter.
Immediately on completion of the proceedings, defendant will
                                                                   be
returned to said place of confinement in safe and secure conduct.

WITNESS the Honorable Stanley R. Chesler
United States District Judge at Newark, N.J.



DATED    -       ‘z     C               WILLIAM T  WALSH
                                        Clerk of the U.S. District Court
                                        fçr the District of New Jersey
                                          1              /
                                  Per                                  a
                                        Deputy Clerk
